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                                                U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Jacob K. Javits Federal Building
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    October 10, 2024

BY ECF

The Honorable Lewis J. Liman
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

        Re:    United States v. Michael Shvartsman, S1 23 Cr. 307 (LJL)

Dear Judge Liman:

       The Government respectfully submits this memorandum in advance of the October 17,
2024 sentencing for defendant Michael Shvartsman.

       The defendant was entrusted with valuable, confidential information about a potential
merger between a blank-check SPAC (DWAC) and Trump Media. He ensured that his employee
would be appointed to DWAC’s Board of Directors. He then misappropriated the inside
information he obtained from DWAC to make more than $18 million illegally trading in DWAC
warrants. His co-conspirators made millions more. And he moved portions of the proceeds of his
crimes through a series of corporate payment processing accounts he controlled and used the rest
to purchase a luxury yacht layered through shell companies and straw owners. The defendant’s
criminal conduct was flagrant, manipulative, and motivated by sheer greed.

       For the reasons set forth below, the Government respectfully submits that a sentence within
the Guidelines Range of 46 to 57 months’ imprisonment would be sufficient but not greater than
necessary in light of the defendant’s criminal conduct.

I. Background

   A.    The Offense Conduct

        The defendant and his co-conspirators, including his brother, Gerald Shvartsman, made
tens of millions of dollars in illegal profits by trading in the open-market securities of Digital
World Acquisition Corporation (“DWAC”).

       In or about June 2021, the defendant operated a number of companies involved in credit
card payment processing and financial services. He also ran his own private investment firm,
Rocket One Capital.
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        At that time, DWAC’s CEO, Patrick Orlando, approached the defendant to pitch him on
investing in DWAC, Orlando’s new special purpose acquisition corporation, or “SPAC.” Orlando
came to Michael Shvartsman’s offices in South Florida to present to Shvartsman and his brother
in person.

        Unlike most blank-check SPACs, whose investors are generally clueless as to merger
targets, this pitch included the possibility of a desirable target. Orlando explained that he had an
existing business relationship with former President Donald J. Trump through another SPAC
Orlando had established, Benessere. Orlando told the Shvartsmans that, rather than Benessere,
DWAC might be the company to profit from this relationship and could potentially merge with
Trump’s company, Trump Media and Technology Group, which owned the Truth Social social-
media company.

        Before receiving this highly confidential, highly valuable information, Shvartsman signed
confidentiality agreements with both DWAC and Benessere. Those confidentiality agreements
stated, in sum and substance, that the defendant could use the information provided by Orlando
only to decide whether to invest directly in the SPAC, that Shvartsman could not disclose material
non-public information he learned from Benessere or DWAC to others, and that he could not use
it to engage in securities trading on the open market on the basis of material non-public
information.

        Following the pitch meeting, Michael Shvartsman offered to assemble a consortium of
investors in the SPAC. Michael Shvartsman enlisted his employee, Rocket One’s Chief Strategy
Officer and Investment Officer Bruce Garelick, to help gather this group of investors. Together,
the group Shvartsman helped bring together invested millions in legitimate pre-IPO investments
in DWAC. In exchange, Michael Shvartsman arranged for Garelick to be named as a director-
nominee of DWAC board of directors. Shvartsman intended that, as a director, Garelick would
tend to the brothers’ investments and ensure that they would profit by focusing on the potential
DWAC-Trump Media merger and informing Shvartsman of the negotiations’ progress.

        After DWAC went public in September 2021, Garelick, as a DWAC director, learned
additional material non-public information about DWAC’s negotiations with Trump Media. For
example, Garelick learned confidential information about the status of merger negotiations
between DWAC and Trump Media, the timing of a letter of intent and merger agreement, deal
terms, and a likely closing date. After learning this material non-public information through his
role on DWAC’s board, Garelick provided updates to Michael Shvartsman about the status of the
DWAC-Trump Media merger negotiations and the timing of a public merger announcement.
Garelick encouraged Michael Shvartsman and another insider, Eric Hannelius, to purchase
additional warrants in DWAC. Michael Shvartsman, in turn, passed Garelick’s information on to
Gerald Shvartsman.

       Shvartsman, armed with the inside information he had already learned from Orlando,
supplemented by the tips passed on from Garelick, then made several well-timed, massive
purchases of publicly trading DWAC securities, all in violation of the nondisclosure agreements
he had entered.
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        Specifically, both before and after DWAC executed a letter of intent with Trump Media on
or around September 23, 2021, Garelick conveyed material non-public information to Michael
Shvartsman and encouraged him to buy DWAC securities. On October 1, 2021, once DWAC
warrants began trading on the Nasdaq exchange, Michael Shvartsman placed an order to purchase
2 million DWAC warrants. These warrants were purchased on the market over the course of three
days.

       On or about October 6, shortly after Michael Shvartsman finished purchasing his warrants,
he tipped Gerald Shvartsman. Gerald Shvartsman contacted his broker that same day and placed
an order for 300,000 DWAC warrants, which he purchased over the next two days. Just two days
before the merger was announced publicly, on October 18, 2021, Michael Shvartsman passed
additional DWAC tips to Gerald Shvartsman concerning the timing of the merger announcement.
As a result, Gerald purchased another 100,000 warrants.

      But as Shvartsman stockpiled these DWAC warrants, the public was entirely ignorant of
DWAC’s merger target. To the market, DWAC was just like many blank-check SPACs with
unknown merger prospects.

        Shvartsman also violated his confidentiality obligations by telling others about inside
DWAC information with the intent that they trade on it. Shvartsman and Garelick told
Shvartsman’s business partner, Eric Hannelius about the approaching merger, which caused
Hannelius to purchase DWAC units and warrants. Shvartsman also tipped his neighbor and a friend
of his, with whom he was socializing in Las Vegas on the eve of the merger announcement. This
neighbor and friend also traded in DWAC securities based on those tips.

        On October 20, 2021, after the close of trading, a spokesperson for former President Trump
posted a press release to Twitter announcing the planned merger of DWAC and Trump Media.
After the public announcement of the DWAC-Trump Media merger agreement, the share and
warrant prices of DWAC skyrocketed. DWAC warrants went from trading for less than a dollar
prior to the merger announcement to a daily high of $14.49 on October 21 and a daily high of
$79.22 on October 22. This was a more than 18,000% increase in a two-day span.

         The day after the prospective merger was announced, as the market opened, Michael
Shvartsman and his conspirators sold their stores of illegally purchased securities. Michael
Shvartsman and Bruce Garelick sold the Rocket One DWAC warrants for approximately $18.2
million in illegal profits. Gerald Shvartsman sold the DWAC securities he purchased on the open
market for a profit of approximately $4.6 million. Bruce Garelick sold the DWAC securities he
had purchased directly on the open market for profits of approximately $49,702. Shvartsman’s
friend and co-investor, Anton Postolnikov, sold his open market DWAC securities for a profit of
approximately $14.5 million. Michael Shvartsman’s business partner Hannelius, Michael
Shvartsman’s friend, and Michael Shvartsman’s neighbor sold their securities for total illegal
profits of approximately $1.5 million. Gerald Shvartsman’s direct tippees sold their securities for
profits of approximately $420,000, and their tippees, in turn, made approximately $1.6 million in
profit trading in DWAC securities.

      In total, the tipping chain from Michael Shvartsman and his co-defendants netted nearly
$40 million in illegal profits—a gargantuan sum. Cf. United States v. Rajaratnam, 09 Cr. 1184
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(RJH) (attributing approximately $66 million in gains to Raj Rajartanam’s insider trading
scheme). 1

        Shvartsman took advantage of his tremendous windfall of criminal profits. He transferred
approximately $8.4 million of the proceeds of the sale of DWAC securities through a series of
bank accounts controlled by Shvartsman or his associate Hannelius that were used primarily in
connection with their payment processing businesses—one account in the chain handled billions
of dollars in transactions. Shvartsman also transferred approximately $12 million of the DWAC
proceeds toward purchasing a $14.7 million 160-foot yacht, then named the Ipanema. The
defendant renamed the yacht the Provocateur.

    B.    The Defendant’s Plea, Guidelines Range, and Forfeiture

        On February 6, 2024, the defendant was charged in the S1 superseding indictment (the
“Indictment”) in nine counts: one count of conspiracy to commit securities fraud, in violation of
18 U.S.C. § 371 (Count One), five counts of Title 15 securities fraud, in violation of 15 U.S.C.
§§ 78j(b), 78ff, and 17 C.F.R. § 240.10b-5 (Counts Three, Four, Five, Six, and Seven), one count
of Title 18 securities fraud, in violation of 18 U.S.C. § 1348 (Count Ten), one count of money
laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(i) (Count Eleven), and one count of engaging
in transactions in excess of $10,000 with criminally derived property (Count Twelve). On April 3,
2024, approximately four weeks before trial, the defendant pled guilty, pursuant to a plea
agreement, to securities fraud, as charged in Count Three of the Indictment. (PSR ¶¶ 1-9.)

        As agreed to by the parties, and as calculated by the Probation Office, the Stipulated
Guidelines Range is 46 to 57 months’ imprisonment. (PSR ¶¶ 9, 120.) Probation recommends the
defendant be sentenced to a Guidelines sentence of 46 months’ imprisonment. (PSR at 36.) As set
forth in the Plea Agreement, and pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),
the Government seeks forfeiture in the amount of $18.2 million (PSR ¶¶ 130-31), and the Court
has entered a Preliminary Consent Order of Forfeiture and Money Judgment.




1
  The loss amount in the parties’ Stipulated Guidelines Range of approximately $24.5 million (PSR
¶ 9(c) & n.4; ¶ 40), reflects the profits attributable to the defendant personally, Gerald Shvartsman,
Hannelius, the defendant’s neighbor, and the defendant’s friend, as the fair approximation of
“reasonably foreseeable pecuniary” loss attributable to the defendant. See U.S.S.G. § 2B1.1,
application note 3(A)(iv).
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II. The Sentencing Guidelines and Section 3553(a) Factors

        The Sentencing Guidelines promote the “basic aim” of “ensuring similar sentences for
those who have committed similar crimes in similar ways,” United States v. Booker, 543 U.S. 220,
252 (2005), and so “to secure nationwide consistency, the [Sentencing] Guidelines should be the
starting point and the initial benchmark,” Gall v. United States, 552 U.S. 38, 49 (2007). Along
with the Guidelines, the other factors set forth in Title 18, United States Code, Section 3553(a)
must be considered. Section 3553(a) directs the Court to impose a sentence “sufficient, but not
greater than necessary” to comply with the purposes set forth in paragraph two. That sub-paragraph
sets forth the purposes as:

               (A) to reflect the seriousness of the offense, to promote respect for
               the law, and to provide just punishment for the offense;

               (B) to afford adequate deterrence to criminal conduct;

               (C) to protect the public from further crimes of the defendant; and

               (D) to provide the defendant with needed educational or vocational
               training, medical care, or other correctional treatment in the most
               effective manner . . . .

        Section 3553(a) further directs the Court to consider: (1) the nature and circumstances of
the offense and the history and characteristics of the defendant; (2) the statutory purposes noted
above; (3) the kinds of sentences available; (4) the kinds of sentence and the sentencing range as
set forth in the Sentencing Guidelines; (5) the Sentencing Guidelines policy statements; (6) the
need to avoid unwarranted sentencing disparities; and (7) the need to provide restitution to any
victims of the offense. See 18 U.S.C. § 3553(a).

III. The Court Should Impose a Guidelines Sentence

         A sentence of imprisonment within the Stipulated Guidelines Range of 46 to 57 months’
imprisonment would be sufficient but not greater than necessary under the relevant Section 3553(a)
factors.

   A. A Guidelines Sentence Is Necessary in Light of the Nature and Seriousness of the
   Offense, the Need to Promote Respect for the Law, and the Need to Provide Just
   Punishment

        A sentence within the Guidelines Range is necessary in light of the nature and
circumstances of the offense and the need for the sentence imposed to reflect the seriousness of
the offense, to promote respect for the law, and to provide just punishment for the offense. See 18
U.S.C. § 3553(a)(1) & 3553(a)(2)(A).

       The defendant, due to his wealth, status, and connections, was afforded an exclusive
opportunity not available to ordinary investors. He was given the opportunity to make a pre-IPO
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investment in a SPAC with an inside track to merge with former President Trump’s social medial
company. But that legal, exclusive opportunity was not enough to satisfy the defendant’s greed.
Shvartsman, his brother, Garelick, and their confederates used the explosive, confidential
information they obtained in connection with that investment opportunity to illegally add to their
profits by purchasing cheap, unrestricted open market warrants that skyrocketed in value when the
rest of the world learned what the conspirators already knew was coming.

        The defendant misappropriated the confidential, valuable information that DWAC had
entrusted to him. And he ensured that Garelick would be installed as a DWAC director so as to
guarantee the defendant’s continued access to material non-public information concerning the
potential Trump Media merger.

        The defendant is a wealthy, successful businessman. He operates numerous companies,
including his own investment firm, which appears to manage substantial assets. He is
sophisticated, having formed or otherwise been affiliated with more than a dozen different entities.
(See PSR ¶¶ 87-100.) He owns at least $11.7 million in assets, and likely has substantially more.
He lives in expensive real estate and maintains a luxurious lifestyle.

         There was no motivation for this crime other than pure greed. The defendant’s personal
investment firm made in excess of $18 million in illegal profits as a result of the warrants the
defendant purchased. He used these funds, among other things, to buy a large yacht. This yacht,
the Provocateur, has room for twelve guests and is to be staffed by eleven crewmembers. Although
still subject to forfeiture, the yacht is currently listed for lease at rates of approximately $333,500
per week. See https://www.yachtcharterfleet.com/luxury-charter-yacht-49945/provocateur.htm.

        The defendant’s crime did not stop at lining his own pockets. He also shared material non-
public information with others, allowing for his friends, family members, and associates to profit
due to their relationship with Shvartsman. The defendant knew what he was doing was wrong, and
knew he was violating the promises he had made to keep the information confidential and not use
it.

        This corruption—wealthy individuals further illegally enriching themselves when they
have already been presented with opportunities beyond the reach of ordinary investors—is within
the heartland of the kind of serious securities fraud that warrants a substantial sentence. Insider
trading of this form “creates [the] perception in the public including, among investors and would
be investors, that the market is somehow rigged or, at the very least, that certain individuals who
have more access to information have the upper hand in terms of making investment decisions
both whether to buy or to sell.” United States v. Collins, No. 18 Cr. 567 (VSB) (Jan. 17, 2020),
Sent. Tr. at 87-88. Insider trading also “appropriate[s] some part of the returns … at the expense
of other shareholders” and “tends to discourage corporate investment and reduce the economic
efficiency of corporate behavior.” Michael Manove, The Harm From Insider Trading and
Informed Speculation, The Quarterly Journal of Economics (Nov. 1989). Because of the economic
harm caused by insider trading, and because “[o]ur markets are … such an important part of the
fabric of our economic life,” it is important to “punish those who would hurt the integrity of that
system.” United States v. Wong, No. 22 Cr. 395 (ER) (Jan. 26, 2024), Sent. Tr. at 24. Moreover,
in addition to harming investors and the stock market generally, Shvartsman’s misappropriation
of confidential information from DWAC harmed the company itself, which, as Judge Rakoff has
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described, is “the functional equivalent of stabbing [the victim company] in the back.” United
States v. Gupta, 904 F. Supp. 2d 349, 354 (S.D.N.Y. 2012). In short, the serious nature of the harm
of insider trading demands punishment.

        In light of the seriousness of the offense and the harm it caused, a punishment that is just
and commensurate with the defendant’s conduct is required. As “insider trading is not only a
sophisticated form of cheating but also a fundamental breach of trust and confidence …
meaningful punishment is … necessary to reaffirm society’s deep-seated need to see justice
triumphant,” and “[n]o sentence of probation, or anything close to it, could serve this purpose.”
Gupta, 904 F. Supp. 2d at 355. Justice requires that Shvartsman be punished with an incarceratory
sentence within the Guidelines Range.

    B. Deterrence Warrants an Incarceratory Sentence

       Both general and specific deterrence support the imposition of a Guidelines sentence.

       The Court’s sentence must specifically deter Shvartsman from committing additional
criminal activity. Shvartsman engaged in this flagrant insider trading scheme, in which he acquired
millions of DWAC warrants and realized in excess of $18 million in illegal profits. This conduct
and his post-sentencing conduct indicate that Shvartsman is a person who believes that the laws
and obligations of society do not apply to him.

        As Probation notes, the defendant has failed to provide financial statements and has not
given the Court a clear picture of his true financial condition. Although the defendant owns and
operates several businesses and lives a luxurious lifestyle, both his 2020 and 2022 tax returns claim
he had taxable income of $0. This lack of cooperation in common requests from Probation and the
ambiguity concerning the defendant’s employment and finances indicates that the defendant does
not want inquiry into his life and does not care to subject his finances to the Court’s examination.

        In addition, the Government is further troubled by the defendant’s conduct with respect to
the yacht, the Provocateur. At the time of his plea, the defendant consented to the forfeiture of the
Provocateur, which the Court endorsed in the Preliminary Consent Order of Forfeiture. 2 For most
of the last year, the Provocateur has been docked in Turkey, where, as the defendant knows, the
Government has transmitted a judicially authorized warrant to seize the yacht, and has held the
execution of that warrant in abeyance pending the resolution of the defendant’s forfeiture
obligations. After the defendant pled guilty and agreed to forfeit the yacht, the Government learned
in the summer of 2024 that, without consulting the Government (or apparently his criminal defense
attorneys), the defendant had leased the Provocateur for summer charters on the Mediterranean.
The Government informed defense counsel that the yacht should not be chartered, that it remained
subject to forfeiture pursuant to the consent order, and that the yacht should not leave Turkey.



2
  Although the Government agreed to treat his forfeiture obligation as satisfied if the defendant
made a payment of $18.2 million in advance of sentencing, the yacht is and remains subject to
forfeiture until the Government confirms it has finally forfeited all of the necessary funds.
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        In September 2024, the Government learned that the yacht had been moved to Italy’s
Ligurian coast, pending shipment to Fort Lauderdale, Florida, in contravention of the consent
forfeiture order and again without notice to or the consent of the Government. When the
Government raised this issue with Shvartsman’s attorneys, it became clear that they were also
ignorant of the yacht’s movement. Again, it appears that Shvartsman felt he could do whatever he
wanted with the yacht, without regard to the Court’s forfeiture order, the Government’s seizure
warrant, and his obligations.

       Altogether, Shvartsman exhibits a troubling pattern of acting as though he were above the
law. The sentence and term of supervised release imposed upon Shvartsman must deter him from
committing future crimes.

        General deterrence is also important here. See 18 U.S.C. § 3553(a)(2)(B). The Second
Circuit and courts in this district have noted the appropriateness of significant sentences in the
context of financial crimes, including specifically insider trading, committed by defendants who
make the calculation that white collar crime is “a game worth playing.” United States v. Goffer,
721 F.3d 113, 132 (2d Cir. 2013) (quoting district court and affirming sentence of 66 months’
imprisonment for insider trading offense); Gupta, 904 F. Supp. 2d at 355 (“As this Court has
repeatedly noted in other cases, insider trading is an easy crime to commit but a difficult crime to
catch. Others similarly situated to the defendant must therefore be made to understand that when
you get caught, you will go to jail.”). Indeed, research shows that enforcement actions and
punishment for insider trading is effective for achieving deterrence. See, e.g., Fernan Restrepo,
The Impact of Insider Trading Doctrine on the Incidence of Insider Trading: An Analysis of the
Effect of the Misappropriation Theory (Nov. 8, 2023), https://ssrn.com/abstract=4627327 (finding
that the adoption of the misappropriation theory of insider trading had a meaningful deterrent
effect); Robert Davidson and Christo Pirinsky, The Deterrent Effect of Insider Trading
Enforcement Actions, Accounting Review (May 2021) (concluding that insider trading convictions
have a statistically significant effect on deterrence of future insider trading). And, as the Eleventh
Circuit has noted, in passing the Sentencing Reform Act, “Congress was especially concerned that
prior to the Sentencing Guidelines, [m]ajor white collar criminals often [were] sentenced to small
fines and little or no imprisonment. Unfortunately, this creates the impression that certain offenses
are punishable only by a small fine that can be written off as a cost of doing business.” United
States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006); see also id. (“Because economic and fraud-
based crimes are more rational, cool, and calculated than sudden crimes of passion or opportunity,
these crimes are prime candidates for general deterrence.”).

        For those reasons, it is important here to impose a sentence that will deter future insider
trading. While a “relatively modest prison term” may be sufficient in some cases, non-
incarceratory sentences “totally fail to send this message.” Gupta, 904 F. Supp. 2d at 355. The
potential messages that could be inferred from this case, depending on the sentence, illustrate the
point. If, on the one hand, Shvartsman is sentenced to a term of incarceration, and one
commensurate with the defendant’s conduct, it will send a message to other individuals with access
to confidential information that insider trading will result in prison time. But, on the other hand, a
noncustodial or brief sentence may result in the wrong message: that insider trading is not serious
or, even worse, that individuals with privileged access to confidential information are able to use
their advantages to escape meaningful consequences. The fact that this case has resulted in press
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coverage does not alone serve a deterrent purpose. United States v. Cutler, 520 F.3d 136, 171 (2d
Cir. 2008). Instead, “because the case had attracted an unusually large amount of publicity,” it
“could have a powerful general deterrent effect.” United States v. Ulbricht, 858 F.3d 71, 94 (2d
Cir. 2017).

        In sum, deterrence is important in this case. Without a significant sentence attached to
insider trading, the relative simplicity of committing the crime and the challenge of detecting it
would incentivize those similarly situated to the defendant to engage in similar conduct.
Shvartsman’s sentence must also therefore reflect an emphasis on general deterrence that is
commensurate with the difficulty of detecting and proving illegal insider trading. As Judge Rakoff
cautioned in Gupta, defendants situated similarly to the defendant must be made aware that “when
you get caught, you will go to jail.” 904 F. Supp. 2d at 355. Only a serious sentence, one that
sends the message that insider trading will result in prison time, would adequately ensure that those
who would be tempted by a similar path understand the true consequences of such conduct.

   C. A Sentence Within the Guidelines Range Is Necessary to Avoid Unwarranted
   Sentencing Disparities

        Relative culpability and the defendant’s personal characteristics also warrant a substantial
sentence within the Guidelines Range. “In imposing a sentence, the district court is required to
consider, among other things, ‘the need to avoid unwarranted sentence disparities among
defendants with similar records who have been found guilty of similar conduct.’” United States v.
Frias, 521 F.3d 229, 236 (2d Cir. 2008) (quoting 18 U.S.C. § 3553(a)(6)). As the Second Circuit
has repeatedly observed, however, sentencing disparities are not “unwarranted” where defendants
are not “similarly situated.” United States v. Wills, 476 F.3d 103, 109-10 (2d Cir. 2007).

        Here, when comparing the defendant’s case to other insider trading defendants nationwide,
or at least across this district, the need to avoid unwarranted sentencing disparities requires the
imposition of an incarceratory sentence within the Guidelines Range.

        Most insider trading defendants are sentenced to prison. Indeed, the defendant made
millions more than many other defendants in this District who have been sentenced to substantial
jail time. See, e.g., United States v. Viggiano, No. 23 Cr. 497 (VEC) (defendant who received
approximately $35,000 in kickbacks for illegal tips sentenced to 28 months’ imprisonment
following guilty plea); United States v. Forlano, No. 23 Cr. 497 (VEC) (defendant who realized
approximately $100,000 in profits from insider trading scheme sentenced to 13 months’
imprisonment following guilty plea); United States v. Stone, No. 22 Cr. 510 (MKV) (defendant
who realized insider trading profits of approximately $4.8 million for himself and his family
sentenced to 28 months’ imprisonment following early guilty plea);United States v. Markin, No.
22 Cr. 395 (ER) (tipper in insider trading scheme who realized profits of approximately $80,000
sentenced to 15 months’ imprisonment following guilty plea); United States v. Bhardwaj, No. 22
Cr. 398 (GHW) (defendant sentenced to 24 months’ imprisonment following guilty plea); United
States v. Kakkera, No. 22 Cr. 398 (GHW) (18 month sentence after guilty plea); United States v.
Dikshit, No. 21 Cr. 760 (CM) (defendant sentenced to 24 months’ imprisonment following early
guilty plea); United States v. Polevikov, No. 21 Cr. 774 (LJL) (defendant in front running scheme
realizing profits of approximately $8.56 million sentenced to 33 months’ imprisonment following
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pre-indictment guilty plea); United States v. Malnik, No. 19 Cr. 714 (VM) (defendant sentenced
to 30 months’ imprisonment following guilty plea); United States v. Collins, No. 18 Cr. 567 (VSB)
(defendant sentenced to 26 months’ imprisonment following guilty plea); United States v. Buyer,
No. 22 Cr. 397 (RMB) (defendant who realized approximately $476,000 in profits in insider
trading scheme sentenced to 22 months’ imprisonment following trial). 3

        The profits realized by Shvartsman here, and his role as someone who misappropriated
inside information, traded on that information, and tipped others, sets him apart from many other
insider trading defendants. Indeed, since the case of United States v. Rajaratnam, it is difficult to
find a defendant within this district who has profited as much from insider trading as Shvartsman.
Rajaratnam was sentenced to eleven years’ imprisonment, far higher than the Guidelines Range
applicable to Michael Shvartsman.

        Shvartsman’s conduct is highly culpable even when compared to that of his co-defendants.
Michael Shvartsman is certainly more culpable than his brother, Gerald Shvartsman. Michael was
the experienced financial professional who ran his own investment firm and brought his brother in
on the initial DWAC investment opportunity. Michael nominated his employee, Garelick, to be
his eyes and ears on the DWAC Board and to obtain additional material nonpublic information
ensuring that the DWAC-Trump Media merger was on track. Michael executed his two million
warrant purchase before passing on additional inside information to his brother. And Michael used
his web of corporate entities to try to hide his millions of dollars of illegal proceeds. And, although
Garelick’s conduct is subject to serious aggravating factors not present in Michael Shvartsman’s
case, including Garelick’s violation of his duties as a director of DWAC, the Government cannot
ignore that Shvartsman is the one who ensured that Garelick, his employee, joined the DWAC
board. Shvartsman, moreover, is the defendant who directly benefited from the millions of dollars
in Rocket One trading profits.

         Although the defendant notes that he is likely to be subject to deportation, such a collateral
consequence does not alter the Government’s view that a Guidelines Sentence is appropriate for
the reasons described above. The defendant understood the wrongfulness of his actions as he
engaged in this insider trading scheme. He chose to commit these crimes knowing that he lacked
citizenship status in the United States and could be deported as a result. While this collateral
consequence is unfortunate, it was entirely predictable to the defendant once he chose to engage
in this course of conduct.




3
 The cases cited by the defense do not involve similarly situated defendants. (Def. Mem. 27-31.)
Some of these cases are discussed above. Others do not provide helpful comparators. See, e.g.,
United States v. Stiles, No. 23 Cr. 98 (RA) (personal gains of approximately $500,000); United
States v. Stewart, No. 15 Cr. 287 (JSR) (sentencing of tipper with total scheme gains of
approximately $1.5 million); United States v. Tsai, No. 19 Cr. 675 (VM) (profit of approximately
$98,750).
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IV. Conclusion

       For the reasons set forth above, the Government respectfully submits that a sentence within
the Guidelines Range of 46 to 57 months’ imprisonment would be sufficient but not greater than
necessary to comply with the purposes of sentencing.


                                             Respectfully submitted,

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